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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RYAN M. PADDICK,                          :     CIVIL ACTION
     Movant                               :
     v.                                   :     NO.: 09-4285
                                          :
SHENECQUA BUTT; THERESA HOWARD;           :
ELLEN BRONSON, a/k/a ELLEN BROWN;         :
      Respondents.                        :
                                          :
______________________________________________________________________________
RYAN M. PADDICK,                          :     CIVIL ACTION
      Movant                              :
v.                                        :      NO.: 13-374
                                          :
THERESA HOWARD,                           :
      Respondent.                         :
                                                              December 27, 2018

                                  MEMORANDUM OPINION

       Movant Ryan Paddick, Esq. seeks the entry of a civil contempt order against Sandra

Thompson, Esq. for her failure to comply with a valid court order we entered June 18, 2018. By

that order, we compelled Ms. Thompson to disburse a portion of a settlement fund to which we
                              1
determined he was entitled.       Paddick presently seeks the entry of an order that she be found in

civil contempt and must compensate him for attorney time incurred due to this contemptuous non-

compliance with our June 18, 2018 order. Thompson objects.




1
  The dispute arose from Paddick’s substantial contribution to the creation of a settlement fund
for the underlying Plaintiffs. We issued an April 27, 2018 order with accompanying
memorandum opinion finding that Paddick had properly asserted a charging lien against the fund
and was due $54,562.73 on a quantum meruit basis. (See Doc. 356). On May 24, 2018, in
response to Thompson’s position that Paddick’s fee was to come from the clients’ portion of the
fund, we issued a further order and memorandum opinion mandating that “Paddick’s award must
come from Thompson’s fee.” (Doc. 368.) Despite that order, which was reaffirmed in a
June 18, 2018 order, Paddick did not receive payment of his award until after October 9, 2018.
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            This Court held an evidentiary civil contempt hearing on the motions on November 15,

     2018. Thompson and Paddick both appeared and presented testimony. For reasons set forth below,

     we will grant the motion and enter an order finding Thompson in civil contempt for failing to

     comply with our order compelling her to disburse Paddick’s award.

I.          LEGAL STANDARD

            It is elemental that a district court possesses the “inherent power to enforce compliance

     with [its] lawful orders through civil contempt.” Spallone v. United States, 493 U.S. 265, 276

     (1990) (quoting Shillitani v. United States, 384 U.S. 364, 370 (1966)). Civil contempt “is remedial,

     and for the benefit of the complainant.” Int’l Union, United Mineworkers of Am. v. Bagwell, 512

     U.S. 821, 827 (1994) (quoting Gompers v. Bucks Stove & Range Co., 221 U.S. 418, 441 (1911)).

     If successful in a civil contempt proceeding, the complainant is entitled to costs of investigating

     violation of the court order [and] preparing for and conducting the contempt proceeding, and

     attorneys’ fees. See Robin Woods Inc. v. Woods, 28 F.3d 396, 400-01 (3d Cir. 1994). These

     sanctions are designed to place the complainant in the position he would have been had the

     contemnor complied with the court order. Id. at 400.

            “Civil contempt sanctions . . . fall into two general categories.” Harris v. City of Phila.,

     47 F.3d 1311, 1328 (citing Bagwell, 512 U.S. at 829). One category is designed to compensate

     complainants “for losses sustained by [the contemnor’s] disobedience.” Robin Woods Inc., 28

     F.3d at 400. The other is calculated “to coerce the defendant into compliance with the court’s

     order.” Harris, 47 F.3d at 1328. Coercive contempt sanctions “must be capable of being purged”

     to be properly characterized as civil, rather than criminal. Id. (citing Bagwell, 512 U.S. at 828).

     Contempt arising from “discrete, readily ascertainable acts, such as . . . payment of a judgment,




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properly may be adjudicated through civil proceedings since the need for extensive, impartial

factfinding is less pressing.” Bagwell, 512 U.S. at 833.

        To hold a party in civil contempt, the complainant must establish three elements by clear

and convincing evidence: (A) a valid court order existed; (B) the contemnor had knowledge of the

order; and (C) the contemnor disobeyed the order. John T. ex rel. Paul T. v. Delaware Cnty.

Intermediate Unit, 218 F.3d 545, 552 (3d Cir. 2003) (quoting Harris, 47 F.2d at 1326).

“[A]mbiguities must be resolved in favor of the party charged with contempt,” see id., and courts

“should hesitate to adjudge a defendant in contempt when there is ground to doubt the

wrongfulness of the conduct.” F.T.C. v. Lane Labs—USA, Inc., 624 F.3d 575, 582 (3d Cir. 2010).

A finding of willfulness on the part of the contemnor, however, is unnecessary because “good faith

is not a defense to civil contempt.” Id. (internal quotation marks and citations omitted). Before a

finding of contempt is made, “due process . . . require[s] notice and a hearing . . . so that the parties

‘have an opportunity to explain the conduct deemed deficient . . . and that a record will be available

to facilitate appellate review.’” Harris, 47 F.3d at 1322 (quoting Newton v. A.C. & S. Inc., 918

F.2d 1121, 1227 & n. 5 (3d Cir. 1990)).




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I.          FINDINGS OF FACT 2

            On April 27, 2018, this Court entered an order and issued a memorandum opinion

     concluding that Paddick was due a quantum meruit sum of $54,562.73 for his substantial

     contribution to the creation of a settlement fund.   3
                                                              (Doc. 356.) We ordered that Thompson, “as

     custodian of the escrow account,” release funds to Paddick within 10 days. (Doc. 357.) Although

     we intended that Paddick’s award was to come from Thompson’s fee, we learned from her client

     Ms. Ellen Brown that she took the contrary position—that Paddick’s award should come from her

     clients’ portion of the award. (See Doc. 358.) In response to this contention, we entered a May 3,



     2
       This case has an extensive and difficult history which we incorporate by reference to our
     memorandum opinions dated April 27, 2018, May 24, 2018, and June 18, 2018. (Docs. Nos.
     356, 368, 380.) For the present motion, we have reviewed Paddick’s Motion for Contempt (Doc.
     393) (“Contempt. Mot.”), Thompson’s Response in Opposition (Doc. 406) (Resp.) and Brief in
     Opposition to the Motions for Contempt (Doc 406-5) (Opp. Brief), Paddick’s Pre-Hearing
     Memorandum (Doc. 444) (Paddick Memo.), Thompson’s Pre-Hearing Memorandum (Doc. 443)
     (Thompson Memo.), Paddick’s post-hearing Summary of Costs and Time (Doc. 445) (Costs.
     Summ.), Thompson’s Response (Resp. to Costs) (Doc. 447) and all exhibits attached thereto.
     We held a hearing on November 14, 2018, at which Paddick and Thompson presented their
     positions and submitted additional exhibits for consideration.
     3
       A brief history may prove helpful. After their consolidated gender and race-based
     discrimination claims against the United Brotherhood of Carpenters and Joiners of America, et
     al. (the “Union”) were dismissed following the entry of summary judgment against them in
     January 2012, the underlying Plaintiffs retained Paddick to represent them on appeal. Paddick
     prevailed, and continued representing them pursuant to a contingency fee agreement (“CFA”)
     until May 2015, when three out of the four Plaintiffs terminated him in favor of retaining Ms.
     Thompson. In September 2017, as trial was rapidly approaching, the parties reached a settlement
     agreement and the claims of all four underlying Plaintiffs were dismissed. Ms. Thompson held
     the settlement funds as custodian of the escrow account.
              After he was terminated, but before the case reached settlement, Paddick put Ms.
     Thompson on notice of his lien claims as against any future recovery. (See, e.g., Doc. 306-8)
     (October 2015 email from Paddick to Thompson stating that “hourly [fees] from the time spent
     on the appeal remains due . . . [and] fees remain due on the work I did on the cases prior to your
     stepping in”). He was unsuccessful, however, in convincing Thompson to honor his lien, and on
     November 13, 2017 he filed a Motion for Recognition and Enforcement of Lien (Doc. 305-306),
     which we resolved with the issuance of our April 27, 2018 order and accompanying
     memorandum opinion.

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2018 order to show cause as to why Paddick’s award should not be deducted from Thompson’s

portion of the contingency fee. (Id.) By Order dated May 7, 2018, we scheduled a hearing on the

fee dispute and stayed disbursement until May 17, 2018. (Doc. 361.) A hearing was held May 16,

2018 (Doc. 365), and on May 18, 2018, the Court again stayed disbursement pending further order.

(Doc. 366.) In our order with accompanying memorandum opinion dated May 24, 2018, we

concluded that “Paddick’s award must come from Thompson’s fee.” (Doc. 368.) We then ordered

her to “disburse to Paddick his award . . . by June 1, 2018.” 4 (Doc. 369.)

          Thompson filed a Motion to Stay on June 1, 2018, asking us to stay our May 24, 2018 order

compelling payment. (Doc. 370.) We denied that motion by our order and accompanying

memorandum opinion of June 18, 2018, concluding that she “ha[d] not demonstrated a likelihood

of success on the merits” warranting intervention. (Doc. 380.) We further directed her to “disburse

funds in her escrow account in accordance with our May 24, 2018 order by June 25, 2018.” (Doc.

381.) 5

          As of June 26, 2018, Thompson had not complied with the Court’s June 18, 2018 order to

disburse funds. Accordingly, Paddick filed a Motion for Order to Issue a Writ of Execution on the

escrow account where Thompson maintained the settlement funds. (Doc. 390.) He followed with

his present contempt motion on July 2, 2018. We granted his motion for a writ of execution on



4
  In response to Thompson’s complaint that our May 24, 2018 order compelled payment more
quickly than Federal Rules of Civil Procedure 62(a) required, we clarified in a June 4, 2018 Order
that we would “take no further steps to enforce our May 24, 2018 order . . . until fourteen days
have passed since the issuance of that order.” (Doc. 372.) Fourteen days passed on June 7, 2018.
5
  Thompson filed a June 26, 2018 motion to stay in the United States Court of Appeals for the
Third Circuit, which was denied August 23, 2018. Butt v. United Brotherhood, No. 18-2272 (3d
Cir. Aug. 23, 2018); (Doc. 395 at 2.) Although that Court’s order is dated July 17, 2018, we note
that it was docketed August 23, 2018 and that Thompson uses August 23 as the operative date.
(Doc. 443 at 4.)


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                                                                 6
July 3, 2018, which the Clerk of Court issued the same day.          We now resolve the contempt

motion.

       Having directed issuance of the writ, we assumed that Paddick would be paid and this

matter resolved. To that effect, we issued an August 16, 2018 Order to Show Cause as to why his

motion for contempt should not be dismissed as moot. (Doc. 410.) Paddick’s August 22, 2018

response informed us that Thompson had still “not paid any part of the funds.” (Doc. 411. at 1.)

Thompson rebutted that Paddick’s claims “were moot as the Writ of Execution was granted

addressing Paddick’s claims” and asserted that she “did not have the authority to move those

amounts awarded to Paddick from her IOLTA account.” (Doc. 414 at 2.) Paddick, however,

replied that “nothing was preventing her from disbursing to [him] prior to service of the Writ or

directing her bank to pay in accordance with the Writ after service.” 7 (Doc. 418-2.)

       Paddick ultimately turned to Thompson’s bank, Fulton Bank, seeking payment. On

September 11, 2018, he filed a praecipe for judgment upon Fulton Bank as garnishee of

Thompson’s IOLTA account. (Doc. 421.) We granted that praecipe in an October 9, 2018 order

with accompanying memorandum opinion compelling Fulton Bank to disburse $57,960.28 to

Paddick, which sums encompassed the judgment, nominal costs, and pursuant to Pennsylvania

law, $3,250.00 for attorney time incurred in relation to execution upon Fulton Bank. See generally

Paddick v. Butt, No. 09-4285, 2018 WL 4899310 (E.D. Pa. Oct. 9, 2018); Doc. 431. What remains




6
  By this Court’s July 3, 2018 order, we also compelled Thompson to pay her former clients
their portion of the settlement fund – which she had not done in full. (Doc. 394.) Pursuant to
that order, Thompson mailed her clients’ final payments on July 10, 2018. (See Resp. at 4-5.)
7
  We learned that Paddick’s first two attempts to serve the writ were ineffective and that it was
not until July 26, 2018 that he effectively served Thompson’s IOLTA account at Fulton Bank.
(See Doc. 427 at 2-3.)
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      to be determined, however, is Paddick’s present request for outstanding unpaid costs totaling

      $17,945.50. (See Costs. Summ. at 2.)


II.          DISCUSSION

             We must determine whether Thompson is in civil contempt for failing to comply with a

      court order. As discussed above, this requires that we find by clear and convincing evidence that

      (A) a valid court order existed; (B) the contemnor had knowledge of the order; and (C) the

      contemnor disobeyed the order. John T. ex rel. Paul T., 318 F.3d at 552 (quoting Harris, 47 F.2d

      at 1326). Here, as set forth below, Paddick has established by clear and convincing evidence that

      the three elements necessary to establish contempt are present.

             A.      Existence of Valid Court Order

             Of the several orders this Court entered compelling Thompson to disburse funds to

      Paddick, it is the June 18, 2018 order that gives rise to this contempt motion. In that order, we

      mandated that Thompson “disburse funds in her escrow account in accordance with our May 24,

      2018 order by June 25, 2018.” (Doc. 381.) Our May 24, 2018 order had unambiguously compelled

      Thompson to “disburse to Paddick his award . . . by June 1, 2018.” (Doc. 369.) Thompson

      nowhere suggests that either order is in any way unlawful, improper, or invalid. 8 This element is

      clearly met.


      8
        Thompson seems to argue that her request for a stay before the United States Court of Appeals
      for the Third Circuit abrogated her duty to comply with the Court’s June 18, 2018 order. See Opp.
      Brief. at 2; Pre-Hearing Memo. at 4-5. To the extent that this argument challenges the validity of
      the Court’s June 18 order, it is without merit. It is well settled that pendency of appeal does not
      excuse obedience with a valid court order. Maness v. Meyers, 419 U.S. 449, 458 (1975) (“If a
      person to whom a court directs an order believes that order is incorrect the remedy is to appeal,
      but, absent a stay, he must comply promptly with the order pending appeal.”); see also Island
      Creek Coal Sales Co. v. City of Gainesville, Fla., 764 F.2d 437, 440-41 (6th Cir. 1985) (“Where,
      as here, the district court is attempting to supervise its judgment and enforce its order through civil
      contempt proceedings, pendency of appeal does not deprive it of jurisdiction for these purposes.”).

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       B.      Thompson’s Knowledge of Valid Court Order

       The impact of the Court’s June 18, 2018 order was eminently clear to Thompson. Indeed,

after the June 25, 2018 deadline passed, she filed a June 26, 2018 motion for a stay in the Third

Circuit. (See Resp. to Costs at 3.) Whatever her opinions on the court’s order may have been, it

is clear that she knew about it. 9 Such is obvious from her filings and was apparent at the hearing.

This element is satisfied.

       C.      Thompson’s Noncompliance with the Valid Court Order

       Thompson does not dispute the fact that she failed to comply with our order compelling

payment by June 25, 2018. It was not until after October 9, 2018—over three months later—that
                             10
Paddick received payment.         This element is clearly met. The issue, then, is whether anything

excuses Thompson’s noncompliance with the June 18, 2018 order.

       D.      Whether Any Valid Defenses Exist

       We understand Thompson to assert two defenses: that the writ of execution prevented her

from complying with our order, and that her due process right to appeal vitiated our June 18, 2018

order. We consider each in turn.




9
  Thompson argues that she “interpreted [the Court’s July 3, 2018 order] as mandating her to
maintains [sic] funds in her IOLTA account.” Thompson Memo. at 4. While we find difficulty
discerning her exact argument, we take it that she sees conflict between the June 18, 2018 and
July 3, 2018 orders. To the extent that this argument challenges her knowledge of the Court’s
order, it is without merit. The June 18, 2018 order unambiguously directed her to “disburse
funds.” The July 3, 2018 order, which granted Paddick’s motion for a writ of execution and
“direct[ed] payment from Thompson’s IOLTA account,” accords with the earlier order. We fail
to see how Ms. Thompson would have been confused.
10
   At the November 15, 2018 hearing, Paddick confirmed that Fulton Bank paid him pursuant to
our October 9, 2018 memorandum opinion and order compelling the same. We do not know,
however, the exact date on which payment was made.

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           1. Impossibility

       Thompson contends that the writ of execution placed a “legal hold” on her account that

prevented her from disbursing funds to Paddick. 11 Paddick argues that “nothing was preventing

her from disbursing to [him] prior to service of the Writ or directing her bank to pay in accordance

with the Writ after service.” (Doc. 418-2 at 1.)

       A charge of civil contempt may be defended with an assertion that the contemnor was

unable to comply with the order in question. See United States v. Rylander, 460 U.S. 572, 757

(1983) (citations omitted); United States v. Chabot, 681 Fed. Appx. 134, 136 (3d Cir. March 13,

2017). “However, the burden is that of the defendant to introduce evidence beyond a mere

assertion of inability, and to show that [she] has made in good faith all reasonable efforts to

comply.” Harris, 47 F.3d at 1324 (internal quotations and citations omitted).

       Thompson has failed to establish an inability to comply with our June 18, 2018 order. She

is correct that the writ instructs that the “garnishee is enjoined from paying any debt to or for the

account of the defendant and from delivering any property of the defendant or otherwise disposing

thereof.” (See Doc. 408 at 2.) But Thompson’s own statements – which show that the writ was

not effectively served until on or after July 26, 2018 – undercut her argument. As she noted in her

September 19, 2018 filing, Paddick’s first two attempts to serve the writ were ineffective. 12 (See



11
  Although this argument is absent from both her response to Paddick’s motion for contempt
and her pre-hearing memorandum, she raised it in her August 23, 2018 Response to Order to
Show Cause (Doc. 414 at 1-2), at the November 15, 2018 hearing, and in her November 27, 2018
Response to Paddick’s Summary of Costs and Time. (Resp. to Costs at 4.)

12
   In his first attempt, Paddick attempted to serve Thompson at a Philadelphia address that she
said no longer used even though she still listed it as her “Philadelphia Office” in email
correspondence with Paddick and the Court. (See Doc. 411 at 2; Doc. 411-1.) In his second
attempt, he sought to serve Thompson’s bank, Fulton Bank. Service was ineffective, however,
because he mistakenly addressed service to “Fulton Bank, NJ” rather than “Fulton Bank.”
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Doc. 427 at 2-3.) It was not until on or after July 26, 2018 that Paddick effectively served the writ

on Thompson’s IOLTA account at Fulton Bank. Thus, she retained the ability to disburse the

funds until at least July 26, 2018. Her position is further undercut, however, by the fact that she

paid her former clients on July 10, 2018 using funds from the same IOLTA account. This belies

her contention that the July 3, 2018 issuance of the writ “prevented her from moving funds.” Resp.

to Costs. at 4.

        In any event, Thompson has failed to meet her burden establishing that she took reasonable

efforts to comply with the order. She might have, for example, asked Paddick to rescind the writ

or petitioned this Court to suspend it under Rule 70 so that she could write a check. But she has

offered no evidence to show that she made any effort to find a solution. The upshot is her bare

assertion that her hands were tied because of the writ. The “mere assertion of inability,” however,

is not enough to meet her burden. See Harris, 47 F.3d at 1324. This defense must fail.

            2. Right to appeal

        Thompson’s next argument boils down to her assertion that she is being “punished for

exercising due process rights to an appeal and applying for a stay of execution of judgment pending

the appeal.” (Opp. Brief at 2.) Her motive for non-payment in this context was clear, as she

believed that “once the money [was] distributed it [was] unlikely to be collected again.” (Id.)

        As discussed above, it is fundamental that pendency of appeal does not excuse obedience

with a valid court order. Maness v. Meyers, 419 U.S. 449, 458 (1975) (“We begin with the basic

proposition that all orders and judgments of courts must be complied with promptly. If a person

to whom a court directs an order believes that order is incorrect the remedy is to appeal, but, absent

a stay, [she] must comply promptly with the order pending appeal. Persons who make private

determination of the law and refuse to obey an order generally risk criminal contempt even if the



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order is ultimately ruled incorrect.”); see also Island Creek Coal Sales Co. v. City of Gainesville,

Fla., 764 F.2d 437, 440-41 (6th Cir. 1985) (“Where, as here, the district court is attempting to

supervise its judgment and enforce its order through civil contempt proceedings, pendency of

appeal does not deprive it of jurisdiction for these purposes.”). Thompson was entitled to exercise

her appellate rights, and she has done so. While substantively the matter is pending, the Court of

Appeals denied her request for a stay of our Orders of May 24, 2018 and June 18, 2018 by its

Order dated July 17, 2018 and docketed August 23, 2018. See Butt v. United Brotherhood, No.

18-2272, BL-18 (3d Cir. Aug. 23, 2018). Accordingly, this defense fails.

       E.       Compensatory Remedy

       Finally, we must determine what remedy appropriately compensates Paddick for the

attorney-time he incurred because of Thompson’s failure to comply with the court order. In his

November 15, 2018 Summary of Costs and Time, Paddick asks for $17,945.50 “for matters

seeking payment since June 26, 2018.” (Costs Summ. at 2.)

       The Third Circuit has made clear that a district court has wide discretion in fashioning a

civil contempt remedy. See Delaware Valley Citizens’ Council for Clean Air v. Com. of Pa., 678

F.2d 470, 478 (3d Cir. 1982) (citations omitted). The remedy itself is designed to place the

complainant in the position he would have been had the contemnor complied with the court order.

Robin Woods Inc., 28 F.3d at 400. This includes compensating the complainant for the expense

of investigating the violation of the order and preparing for and conducting the contempt

proceeding, in addition to attorneys’ fees. See id. at 401.

       An award of attorneys’ fees and costs to the prevailing party in a civil contempt action is

determined according to the “lodestar method.” Horizon Unlimited, Inc. v. Silva, No. 97-7430,

2002 WL 1896297, at *1-2 (E.D. Pa. August 15, 2002). The lodestar calculation involves



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determining the number of hours reasonably expended on the litigation multiplied by a reasonable

hourly rate, Hensley v. Eckerhart, 461 U.S. 424, 433 (1983), and is presumed to yield a “reasonable

fee.” Further, “under the lodestar method, ‘[t]he party seeking attorney’s fees has the burden to

prove that its request . . . is reasonable.” Clemens v. New York Central Mut. Fire Ins. Co., No. 17-

3150, 2018 LEXIS 25803, at *7 (3d Cir. Sept. 12, 2018) (citation omitted). Once the party seeking

fees provides such evidence the burden shifts to its adversary to contest, with sufficient specificity,

the reasonableness of the hourly rate or the hours expended. Rode v. Dellareciprete, 892 F.2d

1177, 1183 (3d Cir. 1990). If the party opposing the fee application meets its burden, the Court

has wide discretion to adjust the attorneys’ fee for inadequate documentation, duplication of effort,

unreasonableness of hours expended, or lack of relation to the results obtained. Ursic v. Bethlehem

Mines, 719 F.2d 670, 677 (3d Cir. 1983). A district court may also adjust the lodestar amount

downward if the amount is not reasonable in light of the results obtained. Rode, 892 F.2d at 1183.

        Paddick seeks $17,945.50 to compensate him for some 75.65 hours spent on execution of

the judgment and in bringing this contempt motion. Thompson objects, arguing that Paddick is not

entitled fees as a pro se litigant, that the fees of Michael Reed, Esq., whom Paddick engaged as

counsel, are not compensable because a genuine attorney-client relationship did not exist, that the

Court would be “double-paying” Paddick if we grant him recovery of attorney’s fees, that his

“travel time” is non-compensable, and that any fees, if at all granted, should be limited to the time

period between June 26 and July 10, 2018.13 (See Resp. to Costs. at 2-7.)

       We note at the outset that Paddick can recover compensation for the attorney-time he

incurred even though he represented himself pro se. It is undeniable that he incurred a loss—the




13
  We note that Thompson does not contest the reasonableness of the attorneys’ hourly rates.
Accordingly, we will not address those components of Paddick’s application.
                                                  12
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value of the time involved in seeking payment—and that that loss was the direct result of

Thompson’s disobedience.       Because civil contempt sanctions sound in equity, we find it

fundamentally fair for Thompson to pay for the value of the services necessitated by her

noncompliance. See Leman v. Krentler-Arnold Hinge Last Co., 284 U.S. 448, 457 (“[T]here is no

reason why in [a contempt] proceeding equitable principles should not control the measure of relief

to be accorded to the injured party.”); Delaware Valley, 678 F.2d at 478 (noting that a district court

possesses wide equitable discretion in fashioning a civil contempt remedy); see also J. Moore,

Moore’s Federal Practice, ¶ 54.173[1][a], p. 54-425 (3d ed. 2011) (“Pro se litigants, whether

lawyers or not, generally may collect fees under any of the equitable exceptions to the American

Rule. This is logical, for the exceptions permits fees where appropriate as a matter of equity, and

equitable considerations may be present regardless of whether the fee movant was represented by

counsel or not.”). Paddick alerted Thompson that he would hold her responsible for fees if she

continued to refuse payment. (See, e.g., Doc. 426, Ex. M-2). We conclude that his losses justly

fall upon her shoulders.

   1. Paddick’s Time

       We have reviewed Paddick’s Summary of Costs and Time and the attached time entries

designated Exhibit “M-2a,” in which he requests compensation for 75.65 hours of attorney-time

expended from June 26, 2018 to November 15, 2018. For ease of reference, we consider his fee

requests page by page using the time-entry exhibit docketed November 15, 2018. (Doc. 445-1.)

       We decline to credit nearly all of the time expended between June 27, 2018 and July 27,

2018 in that we awarded him compensation for the same in our October 9, 2018 memorandum




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opinion and order.         (See Doc. 445-1 at 2.) We do credit, however, the 5.6 hours expended
                                                                                                    15
preparing the motion for contempt, which we previously excluded from his October 9 award.

(Id.) Likewise, we credit the entries from August 3, 2018 to August 20, 2018 as they represent

reasonable time spent as a result of Thompson’s noncompliance with our order.        16
                                                                                          We thus find

8.57 hours of compensable time from page 2 of Paddick’s filing.

         We credit all of Paddick’s time entries between August 22, 2018 and November 9, 2018

finding that they were reasonably expended with the exception of 0.37 hours titled “math is bad”
                                       17
and 1.12 hours spent traveling.             (See Doc. 445-1 at 3.) This amounts to 32.24 hours of

compensable time. We decline to credit the time entries on the fourth page of his filing in that

they related to Thompson’s appeal, which did not give rise to this contempt motion. (See Doc.

445-1 at 4.) We credit Paddick’s time entries on the fifth page—but exclude the travel time—in

that they related to his preparation for contempt hearing.   18
                                                                  (See Doc. 445-1 at 5.) Thompson’s

argument that such fees are unrecoverable is without merit, as it is well-settled in the Third Circuit


14
   We are sympathetic to Thompson’s concern that Paddick might be “double-paid,” as we
awarded him $3,250.00 in attorney’s fees in our October 9, 2018 memorandum opinion. In that
opinion, we “reviewed the 25.76 hours Paddick spent on execution between June 26, 2018 and
July 27, 2018” and credited him for 14.31 hours of his time. See Paddick v. Butt, No. 09-4285,
2018 WL 4899410, at *6 (E.D. Pa. Oct. 9, 2018). We clarified, however, that we were
“declin[ing] to credit his June 29 and July 2 entries in that the work related only to his motion for
contempt,” which was not before us. See id. Accordingly, we will not presently award any fees
for time expended between June 26, 2018 and June 27, 2018 with the exception of the
previously-excluded time expended preparing the motion for contempt.
15
   4.42 hours less 0.7 (deducting 40 minutes “for personal phone call and other interruptions”)
plus 0.33 plus 1.55 equals 5.6 hours.
16
     These entries total 2.97 hours.
17
  Thompson contends that “Paddick’s travel time . . .must be excluded.” (Resp. to Costs. at 6.)
We agree, and accordingly we do not credit any travel time.
18
     These entries total 8.38 hours.


                                                    14
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that a prevailing party in a civil contempt matter is entitled compensation for investigating,

preparing and conducting the contempt proceeding. 19 Robin Woods Inc. v. Woods, 28 F.3d 396,

401 (3d Cir. 1994). Accordingly, we find that Paddick is entitled to 49.19 hours’ compensation

for time reasonably expended as a result of Thompson’s noncompliance with our order compelling

disbursement. 20 At his rate of $250.00 per hour, this amounts to $12,477.50.

     2. Reed’s Time

         We finally consider what compensation, if any, Paddick is due for the time expended by

Michael Reed, Esq., whom Paddick retained as counsel for “matters seeking [Thompson’s]

compliance . . . with the Court’s orders for payment.” (Costs Summ. at 1.) Thompson objects,

arguing that Paddick “failed to present admissible evidence” regarding Reed’s fees. (See Resp. to

Costs. at 2.) She contends that Paddick presented only “hearsay testimony about Attorney Reed’s

activities” and that his documents are “unauthenticated.” (See id.) 21

         Reed expended 7.61 hours “draft[ing] contempt papers . . . draft[ing] int[errogatories] for

garnishment . . . [a]dvising [Paddick] by email and phone [about the] execution process” and

performing similar attorney work. (See Doc. 445-1 at 13-14.) We find that this amount of time

was reasonable for the subject matter involved and necessary in that execution was a prerequisite

to payment in light of Thompson’s noncompliance with the court order. And although Thompson

objected to the presentation of this evidence at the hearing, we explicitly overruled her objection


19
   While Thompson argues that all time spent after October 15, 2018 was “spent to seek
penalties against Thompson for exercising her due process rights,” we note that that time was in
fact spent preparing for the contempt hearing.
20
     5.6 hours plus 2.97 plus 32.24 plus 8.38 equals 49.19 hours.
21
  To the extent she also argues that the testimony violated the Confrontation Clause of the Sixth
Amendment to the United States Constitution (see Resp. to Costs. at 3), this argument is without
merit. It is well established that the Confrontation Clause is inapplicable in civil cases.
Crawford v. Washington, 541 U.S. 36, 42 (2004).
                                                 15
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       as Paddick himself testified as to the document’s authenticity. (See Fed. R. Evid. 901(b)(1)

       (testimony of a witness with personal knowledge satisfies authentication requirement).

       Accordingly, we credit Reed’s 7.61 hours at his rate of $300.00 per hour, which equals $2,283.00.

              In sum, we thus credit Paddick for $14,760.50 in attorney time spent attempting to secure

       Thompson’s compliance with this Court’s order.

III.      CONCLUSION

              By clear and convincing evidence, we find that Thompson knew of, and failed to comply

       with, our June 18, 2018 order compelling her to disburse funds to Paddick. Further, she failed to

       establish any valid defense. As a result of her noncompliance, Paddick took alternative measures

       to secure payment, and sought reimbursement for those efforts by bringing this contempt motion.

       For reasons stated above, we conclude that Thompsons must compensate him $14,760.50 for those

       efforts representing the loss he incurred. An appropriate order follows.




                                                            /s/ David R. Strawbridge, USMJ
                                                            DAVID R. STRAWBRIDGE
                                                            UNITED STATES MAGISTRATE JUDGE




                                                       16
